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     ". ,\0 2450 (CASD) (Rev 4114) Judgment in a Crimmal Case for Revocalion.s
                  Sheet I                                                                                                           FILED
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                                              UNITED STATES DISTRICT COURlu:" ,< . u r;;. e\S T.~.~Ci <:rn!I1..
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                                                    SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                                                                                                           " ,..1\¥
                                                                                 JUDGMENT IN A CRiMINAL CASE
                                         V.                                      (For Revocation of Probation or Supervised Release)
                                                                                 (For Offenses Committed On or After November I, 1987)
                            JAMES MCCA Y (2)

                                                                                 Case Number: 13CRI775-WQH

                                                                                  CHARLES ADAIR, CJA
                                                                                 Defendanl ' s Attorney
    REGISTRATION No. 38779298
o
    THE DEFENDANT:
     o  admitted guilt to violation of aliegation(s) No . ..:2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No.                                                         after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                   Nature of Violation
              2               Comply with aU lawful rules of the probation department (nv I a)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                                    4      of this judgment.
    This sentence is imposed pursuant to the Sentencing Refonn Act of \984.


             IT IS ORDERED that the defendant shall notify the United States Attorney forth is district within 30 days of any
    change of name, residence, or mailing address until all tines, restitution, costs, and special assessments imfosed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney 0 any material change in the
    defendant's economic circumstances.

                                                                                 NOVEMBER 14,2016
                                                                                 Date of Imposition of Sentence




                                                                                                                                                        13CRl775-WQH
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AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                     Judgmenl- Page   2     of     4
 DEFENDANT: JAMES MCCAY (2)
 CASE NUMBER: 13CRl775-WQH
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          3 months




    o The court makes the following recommendations to the Bureau of Prisons:


     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.    on
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                         -------------------------------------------------------------------------
           o    as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                         to

 at _______________________ , with a certified copy of this judgment.


                                                                                                   UNlTED STATES MARSHAL

                                                                             By
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                           13CRl775-WQH
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AO 2450 (CASO) (Rev. 4114) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                                 Judgment- Page -----L- of ___4'--_ _
DEFENDANT: JAMES MCCAY (2)                                                                               o
CASE NUMBER: l3CRI775-WQH
                                                            SUPERVISED RELEASE
Upon release from imprisonment , the defendant shall be on supervised release for a term of:
2 years

         The defendant shall report to the probation office in the di strict lO which the defendant is released within 72 hour s of release from
the custody of the Bureau of Pri so ns .

Thc defe ndant shall not commit another federal, state or local crime.

For offenses co mmitted o n or after September' 3, '994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
su bs tanc e. The defendant s hall submit to one drug test within 15 days of release from imprisonment and at least two periodic dru g tests
thereafter as determined by the court. Tes ting requirements will not exceed submission of more than     4   drug tests per month during
the term of supervision, unless otherwise ordered by court.                                            -­

o       The above drug testing condition is sus pended, ba sed on the court's determination that the defendant poses a low risk of
        future substance abu se. (Check, if applicab Ie.)

~       The defendant shall not possess a firearm, ammunition, destructive device , or any other dangerous weapon.
[g]     The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuantlO sec tion 3 of the DNA Analysi s
        Backloo Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3.583(d) .         .    .                                          .
o       The defendant shall comply WIth tlie reqUIrements of the Sex Offender ReglSlrallon and Notlficallon Act (42 U.S.c. § 16901 , et seq.) as dlrected
        by the probation officer, the Bureau of Prisons, or any state sex offender regi stration agency in which he or she resides , works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

            If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or re s titution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments se t
forth in this judgment.

         The defendant mu s t comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                         STANDARD CONDITIONS OF SUPERVISION

  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer ;

  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the in struction s of the probation officer;

  4)      the defendant shall support his or her dependents and meet other family responsibilities ;

  5)      the defendant shall work regularly at a lawful occupation, unle ss excused by the probation officer for schooling, training, or other
          acceptable reasons ;

  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

  7)      the defendant shall refrain from excessive usc of alcohol and s hall not purchase, posses s, use, distribute , or administer any
          controlled su bstance or any paraphernalia related to any controlled substances, except as pr esc rib e d by a physician ;

  8)      the defendant s hall not frequent places where controlled subs tance s are illegally sold, used, distributed, or administered;

  9)      the defendant shall not associate with any perso ns engaged in criminal activity and shall not associa te with any person convicted of
          a felony, unless granted permiSSio n to do so by the probation officer;

 10)      the defendan t shall perm ita probation 0 fficer to vis it hi m or her at any time at ho me or elsewhere and shall permi t con fiscation 0 f any
          contraband observed in plain view of the probation officer;

 I J)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer ;

 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal hi story or characteristics and shall permit the probation officer to make s uch notifications and to confirm th e
          defendant's compliance with such notification requirement.

                                                                                                                                         13CRI775-WQH
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        AO 245D (CASD) (Rev. 4114 ) Judgment In a Criminal Case for Revocations
                   Sheet 4 - Special Conditions
                                                                                                         Judgment- Page _ _4__ of ___4~_ __
        DEFENDANT: JAMES MCCAY (2)                                                                  D
        CASE NUMBER: 13CRI775-WQH




                                                SPECIAL CONDITIONS OF SUPERVISION
~   Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the U nited States illegally and report to the probation
  officer within 24 hours of any reentry to the United States; supervision waived upon deportation , exclusion or voluntary departure.

o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
~ Abstain from the use of alcohol.
~ Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form .
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission . The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested .
o Beprobation
       prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
              officer.

o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within           days .
o Complete             hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Participate in a program of drug or al cohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                    13CRI775-WQH
